Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 1 of 13 PageID: 405




TROUTMAN SANDERS LLP
Valerie Sirota
875 Third Avenue
New York, NY 10022
Telephone: (212) 704-6067
Attorneys for Defendant Anthem Blue
Cross of California d/b/a Anthem Blue Cross
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
PRESTIGE INSTITUTE FOR PLASTIC
SURGERY, P.C. and KEITH M. BLECHMAN,
M.D., P.C., on behalf of PATIENT HG,

                            Plaintiffs,

                     v.
                                              Civil Action No. 2:20-cv-00496-KM-ESK

KEYSTONE HEALTHPLAN EAST, BLUE
CROSS OF CALIFORNIA d/b/a ANTHEM BLUE
CROSS, and SIEMENS CORPORATION GROUP
INSURANCE AND FLEXIBLE BENEFITS
PROGRAM,

                            Defendants.


  ___________________________________________________________________________

 REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT BLUE CROSS OF
     CALIFORNIA d/b/a ANTHEM BLUE CROSS’S MOTION TO DISMISS THE
                           AMENDED COMPLAINT
______________________________________________________________________________
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 2 of 13 PageID: 406


                                                   TABLE OF CONTENTS

                                                                                                                                        Page
TABLE OF AUTHORITIES ......................................................................................................... ii
PRELIMINARY STATEMENT ................................................................................................... 1
ARGUMENT ................................................................................................................................. 2
I.        THE PLAN’S CONTROLLING ANTI-ASSIGNMENT PROVISION DIVESTS
          PLAINTIFFS OF STANDING TO PURSUE THEIR ERISA CLAIMS .......................... 2
          A.         Plaintiffs Do Not Meet Any Exception to The Plan’s Anti-Assignment
                     Provision ................................................................................................................ 2
          B.         Plaintiffs’ Alternative Reliance on the POA Does Not Cure Their Lack of
                     Standing ................................................................................................................. 3
          C.         Plaintiffs’ Alternative Reliance on the “Authorized Representative” Does
                     Not Cure Its Lack of Standing ............................................................................... 5
          D.         Plaintiffs Are Not Proper Beneficiaries Under the Plan ........................................ 7
II.       PLAINTIFFS FAIL TO STATE A CLAIM UNDER § 502 (a)(1)(B) BECAUSE
          THEY DO NOT SUFFICIENTLY TIE THEIR CLAIMS TO THE PLAN ..................... 7
III.      PLAINTIFFS SHOULD NOT BE GRANTED LEAVE TO FURTHER AMEND ......... 9
CONCLUSION .............................................................................................................................. 9




                                                                       i
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 3 of 13 PageID: 407




                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp., Inc.
   99 F. Supp. 3d 1110 (C.D. Cal. 2015) .......................................................................................5

American Orthopedics & Sports Med. v. Independence Blue Cross Blue Shield,
  890 F.3d 445 (3d Cir. 2018).......................................................................................................4

Kanter v. Barella,
   489 F.3d 170 (3d Cir. 2007).......................................................................................................9

Lemoine v. Empire Blue Cross Blue Shield,
   No. 16-cv-6786 (JMV), 2018 U.S. Dist. LEXIS 62535 (D.N.J. Apr. 12, 2018)
   (Vazquez, J.) ..............................................................................................................................8

Mbody Minimally Invasive Surgery, P.C. v. Empire Healthchoice Hmo, Inc.,
  No. 13-cv-6551, 2016 WL 2939164 (S.D.N.Y. May 19, 2016) ................................................6

Prof’l Orthopedic Associates, PA v. Excellus Blue Cross Blue Shield,
   No. 14-6950, 2015 WL 4387981 (D.N.J. July 15, 2015) ..........................................................6

Shah v. Horizon Blue Cross Blue Shield of N.J.,
   No. 17-632, 2018 WL 6617830 (D.N.J. Dec. 18, 2018)............................................................7

Somerset Orthopedic Associates v. Horizon Healthcare Services, Inc., et al.,
   2:19-cv-08783-JMV-JAD (D.N.J. Apr. 27, 2020) (Vazquez, J.) (April 27,
   2020) ......................................................................................................................................4, 5

Statutes, Rules and Other Authorities

20 Pa. C.S.A. § 5601(b), (c) & (d) ...................................................................................................3

ERISA § 502(a)(1)(B)..............................................................................................................3, 5, 8

N.J.S.A. 46:2B-8.9 ...........................................................................................................................3

29 C.F.R. 2560.503-1(b)(4) .............................................................................................................5




                                                                        ii
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 4 of 13 PageID: 408




         This Reply Memorandum of Law is respectfully submitted on behalf of Defendant Blue

Cross Of California d/b/a Anthem Blue Cross (“Anthem”) in further support of its Motion to

Dismiss the Amended Complaint (the “Motion to Dismiss”) of Plaintiffs Prestige Institute for

Plastic Surgery, P.C. (“Prestige”) and Keith M. Blechman, M.D. P.C. (“Dr. Blechman”) on behalf

of patient HG, (collectively, “Plaintiffs”), pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure (“FRCP”).

                                 PRELIMINARY STATEMENT

         Plaintiffs’ Opposition (“Opp.”) is comprised of references to inapposite and unpersuasive

case law, and at bottom, only reiterates the conclusory and formulaic allegations in the Amended

Complaint1. Ultimately, the Amended Complaint fails to state a cognizable claim under ERISA

for several reasons:

         First, despite Plaintiffs’ efforts to skirt the Plan’s anti-assignment provision, the plain

language of the anti-assignment provisions bar Plaintiffs from asserting derivative standing to

bring this lawsuit. Plaintiffs’ circuitous arguments regarding its purported “Power of Attorney,”

“Authorized Representative” and “Beneficiary” statuses fail to revive their standing.

         Second, the Amended Complaint fails to state a claim under ERISA because it does not

sufficiently tie Plaintiffs’ demand for additional reimbursement to any specific Plan term.

         For the reasons set forth herein, Plaintiffs’ Amended Complaint should be dismissed in its

entirety and with prejudice, as Plaintiffs’ claims are incurable by amendment.




1
         The capitalized terms herein shall have the same meaning ascribed to them in the Moving
Brief.


                                                  1
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 5 of 13 PageID: 409




                                          ARGUMENT

I.     THE PLAN’S CONTROLLING ANTI-ASSIGNMENT PROVISION DIVESTS
       PLAINTIFFS OF STANDING TO PURSUE THEIR ERISA CLAIMS

       A.      Plaintiffs Do Not Meet Any Exception to The Plan’s Anti-Assignment
               Provision.

       Plaintiffs recognize that anti-assignment provisions are enforceable to bar providers, such

as themselves, from asserting standing under ERISA. Opp. p. 9. As a result, Plaintiffs attempt to

escape this damning reality by arguing that they meet a narrow exception to the anti-assignment

provision in the Patient’s Plan, and therefore have standing to pursue their ERISA claim. Despite

Plaintiffs’ optimistic interpretation of the Plan, however, the anti-assignment provision does not

permit out-of-network providers, such as Plaintiffs, to receive an assignment of benefits from the

patient. As set forth in the initial moving submission, the full language of the anti-assignment

provision states:

       Any assignment of benefits, even if assignment includes the providers right to receive
       payment, is generally void. However, there are certain situations in which an assignment
       of benefits is permitted. For example, if you go to a participating provider that is a hospital
       or facility at which, or as a result of which, you receive covered non-emergency services
       from a non-participating provider such as a radiologist, anesthesiologist, or pathologist, an
       assignment of benefits to such non-participating provider will be permitted. Any payments
       for the assigned benefits fulfill our obligation to you for those services.

Moving Br., p. 5; see also Schultz Decl., Ex. A, p. 131 (emphasis in original). In their continued

attempt to manufacture standing, Plaintiffs claim that the anti-assignment provision does not apply

because the Patient underwent treatment at an in-network hospital and therefore, the fact that

Plaintiffs, i.e. the providers, are out-of-network is inconsequential with regards to the assignment

of benefits. Plaintiffs’ self-serving reading of the anti-assignment provision, however, is

unavailing. The exception to the anti-assignment provision was created to protect patients from

surprise bills for services performed by member(s) of the in-network providers’ team (e.g., the

radiologist, anesthesiologist, or pathologist, etc.) who happened to be out-of-network. The


                                                 2
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 6 of 13 PageID: 410




exception was not created to enable out-of-network providers to reap additional benefits by taking

advantage of a third-party’s (i.e. the in-network hospitals’) contractual arrangement. Here, the

Patient solicited and received non-emergency surgical services from Plaintiffs, knowing full well

that Plaintiffs were out-of-network. Plaintiffs were not unselected members of the “surgical team”

– they were the surgical team. Plaintiffs’ out-of-network status was not a surprise to the Patient

who chose them for her surgeries, unlike a radiologist or an anesthesiologist, who may be asked

to assist during a procedure rather than be selected by the patient pre-surgery. The carve out in

the Plan’s anti-assignment provision is inapplicable to Plaintiffs, and thus their purported

assignment fails to give them standing necessary to assert ERISA claims.

       Accordingly, Plaintiffs fails to state a cause of action premised on derivative standing under

ERISA § 502(a)(1)(B) and the Amended Complaint should be dismissed in its entirety and with

prejudice.

       B.      Plaintiffs’ Alternative Reliance on the POA Does Not Cure Their Lack of
               Standing.

       The Amended Complaint fails to properly allege that the Patient executed Powers of

Attorney. Under New Jersey law, a power of attorney must be in writing, duly signed and

acknowledged by a notary or other suitable officer. See N.J.S.A. 46:2B-8.9. While Plaintiffs

allege that they bring this lawsuit “on behalf of” the patient, nowhere in the Amended Complaint

do they allege that they have valid powers of attorney. Furthermore, under the Revised Durable

Power of Attorney Act, only an individual or qualified bank may be designated as an attorney-in-

fact. As such, even if the Patient did execute a POA to Plaintiff Prestige, it would be ineffective to

assert standing.

       Despite their failure to plead the existence of valid POAs, Plaintiffs nonetheless push

forward by claiming that the Third Circuit’s decision in American Orthopedics supports their



                                                  3
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 7 of 13 PageID: 411




allegation of standing. In the closing pages of its opinion, however, the Third Circuit commented

that while unambiguous anti-assignment clauses foreclose third-party derivative standing as an

“assignee,” a third-party may, in appropriate circumstances, prosecute an action for benefits

through a valid, duly-executed power of attorney. See American Orthopedics & Sports Med. v.

Independence Blue Cross Blue Shield, 890 F.3d 445, 454-455 (3d Cir. 2018). The “health care

contexts” cited by the Third Circuit contemplate a reserve Marine called to active duty overseas,

or an elderly parent suffering from Alzheimer’s disease, appointing a POA. In fact, Plaintiffs’

erroneous interpretation of American Orthopedic was dispelled just a couple of days ago in

Somerset Orthopedic Associates v. Horizon Healthcare Services, Inc., et al., 2:19-cv-08783-JMV-

JAD, at *16 (D.N.J. Apr. 27, 2020) (Vazquez, J.) (April 27, 2020), where the court held that the

fact pattern of this case simply does not line up with the scenarios contemplated by the Third

Circuit. The Somerset court held that the circumstances considered by American Orthopedics

where a person typically authorizes a POA (i.e., “while the person is incapacitated or unavailable”)

are distinguishable from a situation where, as here, a medical provider is seeking payment for

services rendered. Id. Fn. 10.

       Here, Plaintiffs are a pair of non-participating medical providers who seek to maximize

their profits for their own self-benefit. Despite Plaintiffs’ inclusion of patient in the caption,

Plaintiffs are not asserting claims in a representative capacity, or “on behalf” of the Patient. See

Am. Compl., generally. Indeed, the Amended Complaint does not reference any injury or harm

that the Patient is alleged to have sustained, other than the recognition that it is the financial

responsibility of the patient to pay Plaintiffs for their services. Id. Anthem maintains that if

Plaintiffs have elected not to balance bill their patients, thereby absolving the patients of any

further financial liability, then the patients do not need an “attorney-in-fact” to do anything




                                                 4
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 8 of 13 PageID: 412




on their behalves – which is not a comment on whether or not patients might generally have any

injuries-in-fact to redress. The stark reality is this: Plaintiffs are acting for their own financial

interests. The judgment they seek reflects damages which Plaintiffs claim that they (not the

Patients) have suffered. Specifically, the damages reflect Plaintiffs’ requested compensation for

the Services they provided. See Am. Compl., generally.         Moreover, as recently confirmed in

Somerset, Plaintiffs cannot be “attorneys-in-fact because they are neither individuals nor banking

institutions” and because “Plaintiffs cannot be attorneys-in-fact, as a matter of law, the POAs

Plaintiffs use here do not convey Plaintiffs standing to assert claims on any patient’s behalf.”

Somerset, *15-16 (dismissing Plaintiffs claims due to lack of standing).

       Accordingly, for the foregoing reasons, the Court should dismiss the Amended Complaint

as against Anthem in its entirety and with prejudice as Plaintiffs lack standing.

       C.      Plaintiffs’ Alternative Reliance on the “Authorized Representative” Does Not
               Cure Its Lack of Standing.

       In both the Amended Complaint and in opposing the Motion to Dismiss, Plaintiffs

obstinately allege that they maintain standing under ERISA due to the Patient’s designation of

Plaintiffs as “Authorized Representatives,” as provided by 29 C.F.R. 2560.503-1(b)(4). See Am.

Compl., ¶¶ 60-61; see also Opp., pp. 11-15. In advancing the Authorized Representative argument,

Plaintiffs fail to cite to any case law to support its contention that an authorized representative is

entitled to pursue remedies under ERISA 502(a)(1)(B).           Instead, Plaintiffs rely on Almont

Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp., Inc. 99 F. Supp. 3d 1110, 1143 (C.D. Cal.

2015) for the proposition that an Authorized Representative may sue “on behalf of” a patient and

cites numerous cases demonstrating that assignees, not authorized representatives, may bring

claims under ERISA. Plaintiffs’ Opp. also argues that this case is distinguishable from Mbody, in

which this Court flatly rejected a medical providers’ attempt to use a designation as Authorized



                                                  5
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 9 of 13 PageID: 413




Representative to override a valid anti-assignment provision, because there, unlike here, the

provider “failed to explain how their purported status as authorized representatives…is

distinguishable from their theory that they are proper assignees.” See Opp., FN 7; Mbody

Minimally Invasive Surgery, P.C. v. Empire Healthchoice Hmo, Inc., No. 13-cv-6551, 2016 WL

2939164, at *6 (S.D.N.Y. May 19, 2016). However, on the following pages of Plaintiffs’ Opp.,

Plaintiffs argue that “[t]he Court should treat the Designation of Authorized Representative the

same under Third Circuit law as an assignment...for purposes of recognizing standing under

ERISA.” Id., p. 12.

       Clearly, by Plaintiffs’ own analysis, the Authorized Representative argument is nothing

more than a transparent work-around of the anti-assignment provision in an attempt to manufacture

standing. Plaintiffs offer no reason for this Court to deviate from the precedent set in Mbody and

Prof’l Ortho, rejecting the Authorized Representative argument in its entirety. See Mbody, at *6;

Prof’l Orthopedic Associates, PA v. Excellus Blue Cross Blue Shield, No. 14-6950, 2015 WL

4387981 (D.N.J. July 15, 2015).

       In addition, Plaintiffs allege in the Opp. that ERISA permits Authorized Representatives

to bring claims for reimbursement “on behalf of the claimant.” See Opp., p. 11. However, here,

Plaintiffs are not asserting claims in a representative capacity or “on behalf” of the Patient. See

Am. Compl., generally. As previously reiterated, if Plaintiffs have elected not to balance bill the

Patient, which is implied in the Amended Complaint (and certainly there is no allegation in the

FAC that the Patient has been billed directly by Plaintiff), then the Patient has no injuries and no

claims under the Plan. Therefore, it logically follows that the Patient does not need an “Authorized

Representative” to do anything on her behalf.




                                                 6
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 10 of 13 PageID: 414




       In short, the allegations in the Amended Complaint are clear: Plaintiffs are only acting for

their own self-interest. This case is just the latest effort by out-of-network doctors, such as

Plaintiff, to recover additional compensation for their services. See Shah v. Horizon Blue Cross

Blue Shield of N.J., No. 17-632, 2018 WL 6617830, at * 5 n.5 (D.N.J. Dec. 18, 2018) (rejecting

“the intimation that Plaintiff is some kind of Hippocratic Robin Hood seeking to vindicate the

interests of poor patients against rich insurance companies. Plaintiff’s interests are clear –

receiving as much money as he can for his services.”).

       Accordingly, Plaintiffs’ purported standing as “Authorized Representative” is unavailing

and Plaintiffs fail to state a claim. For the foregoing reasons, the Amended Complaint should be

dismissed in its entirety and with prejudice as against Anthem.

       D.      Plaintiffs Are Not Proper Beneficiaries Under the Plan.

       Plaintiffs argue that they have standing as “beneficiaries” of the Patient’s rights to benefits

under the Plan because “the language in the Assignment/Designation of Authorized

Representative” conveys “all benefit and non-benefit rights under Patient HG’s health insurance

policy.” Opp. p. 16. This illogical and unsupported argument is yet another transparent attempt

to circumvent the Plan’s anti-assignment provision to manufacture standing. Plaintiffs’ theory

rests entirely on the language of the purported Assignment/Designation of Authorized

Representative, which was clearly addressed by Anthem in its initial moving submission and again

addressed herein.

       For the foregoing reasons, the Amended Complaint should be dismissed in its entirety and

with prejudice as against Anthem.

II.    PLAINTIFFS FAIL TO STATE A CLAIM UNDER § 502 (a)(1)(B) BECAUSE
       THEY DO NOT SUFFICIENTLY TIE THEIR CLAIMS TO THE PLAN

       Even if the Court determines that Plaintiffs have derivative or statutory standing (which



                                                 7
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 11 of 13 PageID: 415




they do not), Plaintiffs’ claims under § 502(a)(1)(B) of ERISA are subject to dismissal because the

Amended Complaint fails to allege the “what, how, and when” details of the alleged ERISA plan

violations. Anthem’s moving brief cites a plethora of cases where this Circuit has repeatedly

dismissed ERISA claims when the complaint, like here, fails to identify any provision in the plan

entitling the provider to additional reimbursement. Moving Br., pp. 12-16. In their Opposition,

Plaintiffs do not dispute that in order to recover under § 502(a)(1)(B), a plan participant or

beneficiary must show that he/she is due benefits “under the terms of [the] plan.” Plaintiffs claim,

in fact, that the Amended Complaint sufficiently ties the alleged violations of ERISA §

502(a)(1)(B) to the plan terms. Opp. pp. 18-21. The pleading requirements necessary to state a

claim for additional benefits under ERISA are clear, and have been outlined in recent decisions

from this Court. See Lemoine v. Empire Blue Cross Blue Shield, No. 16-cv-6786 (JMV), 2018

U.S. Dist. LEXIS 62535, at *16 (D.N.J. Apr. 12, 2018) (Vazquez, J.) (dismissing complaint for

failing to identify “which actual portions of the plans were violated, when they were violated, or

how they were violated”) (emphasis added). In the instant matter, notwithstanding Plaintiffs’

nominal references to the Patient’s plan, Plaintiffs fail to identify, with sufficient facts, that they

are plausibly entitled to relief under the plan.

       Despite citing to some pages of the Plan in its Opp., Plaintiffs do not allege anywhere which

specific provisions of the Plan were violated, how these provisions were violated, when they were

violated, and how Plaintiffs calculated the amount they claim to be owed under these specific

provisions. Opp., pp. 18-19. For example, Plaintiffs vaguely claim that they were reimbursed at

out-of-network rates, not out-of-area rates, yet provide no details as to how and why they conclude

that they were underpaid or paid incorrectly under the Plan. Plaintiffs’ repeated attempts to use

the WHCRA to justify recovery of its billed charges is unavailing as Plaintiffs fail to point to a




                                                   8
Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 12 of 13 PageID: 416




single case whereby an out-of-network provider was legally entitled to its billed charges simply

because the breast reconstruction surgery was incident to a mastectomy.

       At bottom, Plaintiffs only state in conclusory terms that they have been underpaid, citing

to portions of the plan without demonstrating how these provisions would actually entitle them to

relief. Thus, contrary to Plaintiffs’ statements in the Opp., they have not sufficiently identified the

actual portions of the plan that were violated. The fact that Plaintiffs merely point to page numbers

in the plan and state in conclusory terms that they have been underpaid is not enough and thus,

dismissal is appropriate.

       For the foregoing reasons, the Amended Complaint should be dismissed in its entirety and

with prejudice.

III.   PLAINTIFFS SHOULD NOT BE GRANTED LEAVE TO FURTHER AMEND

       For the foregoing reasons, Plaintiffs have not, and cannot, state a valid ERISA claim

against Anthem. The Court should therefore dismiss the Amended Complaint with prejudice as

further amendment is futile. See Kanter v. Barella, 489 F.3d 170, 181 (3d Cir. 2007) (internal

citations omitted) (“Where an amended pleading would be futile, that alone is sufficient ground to

deny leave to amend.”).

                                          CONCLUSION

       For the reasons set forth herein and in its initial moving submission, Defendant Blue Cross

of California d/b/a Anthem Blue Cross respectfully requests that its Motion to Dismiss be granted

in all respects, together with such other and further relief as the Court deems just and proper.



Dated: New York, New York                              Respectfully submitted,
       May 4, 2020
                                                       TROUTMAN SANDERS LLP




                                                  9
      Case 2:20-cv-00496-KM-ESK Document 31 Filed 05/04/20 Page 13 of 13 PageID: 417




                                                 By: /s/ Valerie Sirota
                                                    Valerie Sirota, Esq.
                                                    875 Third Avenue
                                                    New York, NY 10022
                                                    212.704.6067
                                                    Valerie.Sirota@troutman.com

                                                 Attorneys for Defendant Attorneys for Defendant
                                                 Blue Cross of California d/b/a Anthem Blue Cross




762                                         10
